	NO. 07-10-0180-CV
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	JULY 7, 2010
	______________________________

	JERRY R. AVERY, ERIKA CLEVELAND, JOY ELLIOTT,
                      DONNA MCMILLIAN AND DIANA MELCHER,

Appellants

	V.

	CITY OF LUBBOCK (LUBBOCK POWER &amp; LIGHT),

Appellee

                       _________________________________

	FROM THE 99th DISTRICT COURT OF LUBBOCK COUNTY;

	NO. 2008-454,739; HONORABLE WILLIAM C. SOWDER, PRESIDING
	_______________________________

	ORDER DISMISSING APPEAL
    _______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK , JJ.
Appellants have filed a motion to dismiss.  Without passing on the merits of the case, we grant the motion pursuant to Texas Rule of Appellate Procedure 42.1(a)(1) and dismiss the appeal.  Having dismissed the appeal at appellants' request, no motion for rehearing will be entertained, and our mandate will issue forthwith.


Brian Quinn
       Chief Justice
